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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                :      CHAPTER 13
                                      :
TAMARA C. MILLER                      :
                                      :
               DEBTOR                 :      NO. 19-16737 (AMC)


                                CERTIFICATE OF SERVICE

        I, David B. Spitofsky, Esquire, hereby certify that on April 13, 2022 I caused a true and
correct copy of the attached Application to Discontinue Wage Deduction to be served via First
Class Mail, postage pre-paid, or electronically, upon the parties listed below:


                              Frederic J. Baker, Esquire
                              Office of U.S. Trustee
                              200 Chestnut Street, Suite 502
                              Philadelphia, PA 19106

                              Scott F. Waterman, Esquire
                              Chapter 13 Trustee
                              2901 St. Lawrence Avenue
                              Suite 100
                              Reading, PA 19606

                              Tamara C. Miller
                              908 Green Street
                              Norristown, PA 19401



                                             /s/ David B. Spitofsky
                                             David B. Spitofsky, Esquire
                                             516 Swede Street
                                             Norristown, PA 19401
                                             Phone No.: (610) 272-4555
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